
ON MOTION FOR REHEARING
MILLS, Judge.
The State urges, and we agree, that our opinion should be modified to direct the trial court to comply with Rule 3.850 as amended in 1984. The opinion is therefore modified to require the trial court to (1) attach those portions of the files and records conclusively showing the defendant is entitled to no relief, or (2) conduct further proceedings in accordance with Rule 3.850. Toler v. State, 493 So.2d 489 (Fla. 1st DCA 1986); Wright v. State, 492 So.2d 394 (Fla. 1st DCA 1986); Price v. State, 487 So.2d 34 (Fla. 1st DCA 1986).
BOOTH, C.J., and THOMPSON, J., concur.
